     Case: 1:17-cv-03483 Document #: 21 Filed: 07/19/17 Page 1 of 2 PageID #:74




                   IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
Gerard A. Walsh,                            )          Case No. 1:17-cv-3483
                                            )
              Plaintiff,                    )
v.                                          )
                                            )          Notice of Dismissal of Defendant
Ocwen Mortgage Servicing, Inc. and          )          Ocwen Mortgage Servicing, Inc.
Ocwen Loan Servicing, LLC,                  )
                                            )
              Defendants.                   )

__________________________________________________________________

Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff Gerard
A. Walsh, through counsel, hereby gives notice of the voluntary dismissal without prejudice of
Defendant Ocwen Mortgage Servicing, Inc. from this action. Defendant Ocwen Mortgage
Servicing, Inc. has not filed an answer or motion for summary judgment at this time.



Dated: July 18, 2017
                                          Respectfully submitted,


                                                     By: /s/ Sarah T. McEahern
                                                     Sarah T. McEahern, Esq.
                                                     HYDE & SWIGART
                                                     1525 Josephine St.
                                                     Denver, CO 80206
                                                     Telephone: (303) 731-5493
                                                     FAX: (800) 635-6425
                                                     Email: sm@westcoastlitigation.com




                                                !1
Case: 1:17-cv-03483 Document #: 21 Filed: 07/19/17 Page 2 of 2 PageID #:75




                                     Abbas Kazerounian
                                     KAZEROUNI LAW GROUP, APC 
                                     245 Fischer Avenue, Unit D1 
                                     Costa Mesa, CA 92626
                                     Telephone: (800) 400-6808
                                     FAX: (800) 520-5523
                                        Email: ak@kazlg.com

                                         Attorneys for Gerard A. Walsh




                                    !2
